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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 AJAY BAHL,                                      :

                            Plaintiff,           :

                     -v-                         :                ORDER

 NEW YORK INSTITUTE OF TECHNOLOGY, :                          14-CV-4020 (DC)

                            Defendant.           :

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 CHIN, Circuit Judge:

              Upon plaintiff's written application to this Court, it is hereby ORDERED

 that Dr. Leonard Adler, a witness in the above-captioned case, is authorized to bring his

 cell phone into the Courthouse on Monday, June 10, 2024.

              The witness identified in this Order must present a copy of this Order

 when entering the Courthouse. The witness shall not use his cell phone while in the

 Courtroom.

              SO ORDERED.

 Dated:       New York, New York
              June 6, 2024
                                                 ______________________________
                                                 DENNY CHIN
                                                 United States Circuit Judge
                                                 Sitting by Designation
